                     UNITED STATES DISTRICT COURT
                  WESTERN DISTRICT OF NORTH CAROLINA
                          CHARLOTTE DIVISION
                          3:21-cv-00171-RJC-WCM

ELECTROLYSIS PREVENTION                       )
SOLLUTIONS LLC,                               )
                                              )
              Plaintiff,                      )
                                              )
                       v.                     )                ORDER
                                              )
DAIMLER TRUCK NORTH AMERICA                   )
LLC,                                          )
                                              )
              Defendant.                      )

      THIS MATTER is before the Court on Defendant’s Omnibus Motion for

Summary Judgment seeking judgment on noninfringement, priority date, and pre-

suit damages, (Doc. No. 162), and Plaintiff’s Motion for Partial Summary Judgment

of Validity, (Doc. No. 165).

      I.      BACKGROUND

      Plaintiff Electrolysis Prevention Solutions LLC (“EPS” or “Plaintiff”) alleges

that Defendant Daimler Trucks North America LLC (“DTNA” or “Defendant”)

infringes claims 25–27, 29, 31–37, 42, and 45–47 (“Asserted Claims”) of U.S. Reissue

Patent No. RE47,494 (“the ’494 patent”). (Doc. No. 120-5). There are two independent

Asserted Claims: claims 25 and 37. The ʼ494 patent is a reissue of U.S. Patent No.

8,236,145 (“the ʼ145 patent”). This means the ʼ494 patent has been examined by the

United States Patent and Trademark Office (“PTO”) twice. The ʼ494 patent claims

priority back to December 5, 2008, the filing date of U.S. Provisional Application No.

61/120,296.

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       Plaintiff commenced this action by filing its complaint on April 19, 2021. (Doc.

No. 1). On April 12, 2022, a Markman Hearing was held before the Court.

Subsequently, the Court entered a Markman order on May 4, 2022, construing the

disputed claims in the patent-in-suit. (Doc. No. 41).

       “The patent is directed to a solution for preventing corrosion in the cooling

systems of motor vehicles caused by electrolysis.” (Id. at 2). “The ’494 patent proposes

a solution to the shortcomings in the prior art by locating a sacrificial anode near the

inlet (within 10 inches of the inlet, as claimed)[.]” (Id. at 3).

       On August 18, 2023, Defendant DTNA filed its Motion for Summary Judgment.

(Doc. No. 162). Plaintiff EPS filed its Motion for Partial Summary Judgment on the

same day. The motions were fully briefed, and a hearing was held on October 24,

2023. These motions are ripe for review.

       II.    STANDARD OF REVIEW

       Summary judgment shall be granted “if the movant shows that there is no

genuine dispute as to any material fact and the movant is entitled to judgment as a

matter of law.” Fed. R. Civ. P. 56(a). A factual dispute is genuine “if the evidence is

such that a reasonable jury could return a verdict for the nonmoving party.”

Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986). A fact is material only if it

might affect the outcome of the suit under governing law. Id. The movant has the

“initial responsibility of informing the district court of the basis for its motion, and

identifying those portions of the pleadings, depositions, answers to interrogatories,

and admissions on file, together with the affidavits, if any, which it believes



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demonstrate the absence of a genuine issue of material fact.” Celotex Corp. v. Catrett,

477 U.S. 317, 323 (1986) (internal citations omitted). “The burden on the moving

party may be discharged by ‘showing’ . . . an absence of evidence to support the

nonmoving party’s case.” Id. at 325.

      Once this initial burden is met, the burden shifts to the nonmoving party. The

nonmoving party “must set forth specific facts showing that there is a genuine issue

for trial.” Id. at 322 n.3. The nonmoving party may not rely upon mere allegations

or denials of allegations in his pleadings to defeat a motion for summary judgment.

Id. at 324. Instead, “Rule 56(e) . . . requires the nonmoving party to go beyond the

pleadings and by her own affidavits, or by the depositions, answers to interrogatories,

and admissions on file, designate specific facts showing that there is a genuine issue

for trial.” Id. The nonmoving party must present sufficient evidence from which “a

reasonable jury could return a verdict for the nonmoving party.” Anderson, 477 U.S.

at 248; accord Sylvia Dev. Corp. v. Calvert Cty., Md., 48 F.3d 810, 818 (4th Cir. 1995).

      When ruling on a summary judgment motion, a court must view the evidence

and any inferences from the evidence in the light most favorable to the nonmoving

party. Anderson, 477 U.S. at 255. “Where the record taken as a whole could not lead

a rational trier of fact to find for the nonmoving party, there is no genuine issue for

trial.” Ricci v. DeStefano, 557 U.S. 557, 586 (2009) (citations omitted). The mere

argued existence of a factual dispute does not defeat an otherwise properly supported

motion. Anderson, 477 U.S. at 248.




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      III.   DEFENDANT’S OMNIBUS MOTION FOR SUMMARY
             JUDGMENT

      Defendant DTNA argues that this Court should grant summary judgment that

the products accused of infringing the patent-in-suit do not infringe as a matter of

law, that Plaintiff EPS is not entitled to a priority date of July/August 2007, and that

Plaintiff EPS is not entitled to damages arising prior to the filing of the present suit

due to a failure to mark practicing anodes. (Doc. No. 169 at 8).

      A. Defendant DTNA is not entitled to summary judgment as to
         noninfringement.

      DTNA contends that this Court should grant summary judgment of non-

infringement as to all asserted claims because Plaintiff EPS has failed to adduce any

admissible evidence that the accused products include the required sacrificial anode.

(Doc. No. 169, Def. Br., at 13). EPS argues that that Defendant asks the Court to

ignore key evidence. (Doc. No. 177, Pl. Br., at 17–18).

      Among its arguments regarding infringement, DTNA consistently urges the

Court to conclude that EPS has pursued shifting theories of infringement which have

changed over time. (Doc. No. 169 at 13–19; Doc. No. 193 at 10–11,16). Plaintiff

contends that it has not shifted its theory of infringement in the case, and the

Magistrate Judge agreed. (Doc. No. 177, Pl. Br., at 21).

      Here, the Magistrate Judge addressed the “shifting theories” contentions in a

prior order. (Doc. No. 170). The Magistrate Judge recognized a distinction between a

new theory of infringement and additional evidence of infringement. (Id. at 2);

KlausTech, Inc. v. Google LLC, No. 10CV05899JSWDMR, 2018 WL 5109383, at *3



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(N.D. Cal. Sept. 14, 2018), subsequently aff’d, 792 F. App’x 954 (Fed. Cir. 2020). This

Court agrees that EPS has not shifted its infringement theory through its deployment

of “benchtop” and “resistivity” testing. Instead, EPS has identified evidence to

support its infringement contentions.

      “The law is clear that literal infringement requires that each and every

limitation set forth in the claim must be present in the accused device.” Key Mfg. Grp.,

Inc. v. Microdot, Inc., 854 F.2d 1328 (Fed. Cir. 1988) (finding error where the district

court determined certain claim limitations were “insignificant” and explaining that

“[a]ll claim limitations are significant and must be considered. This error requires a

remand unless the district court properly found infringement under the doctrine of

equivalents.” (citing Under Sea Indus., Inc. v. Dacor Corp., 833 F.2d 1551, 1557, 4

USPQ2d 1772, 1776)) (citing 4 D. Chisum, Patents § 18.03[4] (1987)). “In analyzing

infringement under the doctrine, claim limitations cannot be ignored, and ‘the

plaintiff must show the presence of every element or its substantial equivalent in the

accused device.’” Id. (citing Lemelson v. United States, 752 F.2d 1538, 1551, 224 USPQ

526, 533 (Fed.Cir.1985)).

      “A determination of infringement generally requires a two-step analysis—the

court first determines the scope and meaning of the claims asserted, and then the

properly construed claims are compared to the allegedly infringing device.” Niazi

Licensing Corp. v. St. Jude Med. S.C., Inc., 30 F.4th 1339, 1350 (Fed. Cir. 2022) (citing

CommScope Techs. LLC v. Dali Wireless Inc., 10 F.4th 1289, 1295 (Fed. Cir. 2021)).

“The first step—claim construction—is a question of law[.] Whether an allegedly



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infringing act includes all the steps of the properly construed claim is a question of

fact.” Niazi Licensing Corp. v. St. Jude Med. S.C., Inc., 30 F.4th 1339, 1351 (Fed. Cir.

2022) (first citing Data Engine Techs. LLC v. Google LLC, 10 F.4th 1375, 1380 (Fed.

Cir. 2021); then citing Teva Pharms. USA, Inc. v. Sandoz, Inc., 574 U.S. 318, 331

(2015); and then citing SmithKline Diagnostics, Inc. v. Helena Lab’ys Corp., 859 F.2d

878, 889 (Fed. Cir. 1988)).

      “Summary judgment of noninfringement is appropriate where the patent

owner’s proof is deficient in meeting an essential part of the legal standard for

infringement, since such failure will render all other facts immaterial.” Telemac

Cellular Corp. v. Topp Telecom, Inc., 247 F.3d 1316, 1323 (Fed. Cir. 2001) (citing

London v. Carson Pirie Scott & Co., 946 F.2d 1534, 1537, 20 USPQ2d 1456, 1458

(Fed.Cir.1991)). Further, “patent infringement is a strict liability offense.” In re

Seagate Tech., LLC, 497 F.3d 1360, 1368 (Fed. Cir. 2007), abrogated on other grounds

by Halo Elecs., Inc. v. Pulse Elecs., Inc., 579 U.S. 93, 136 S. Ct. 1923, 195 L. Ed. 2d

278 (2016). Thus, intent of the alleged infringer is not relevant.1




1 Defendant insists that the accused structures “were developed to serve a structural

function” which is inconsistent with preferential corrosion, and thus the accused
structures are not sacrificial anodes and are not infringing. (Doc. No. 169, Def’s Br.,
at 12). EPS and DTNA agree that regardless of what the accused structures are called
or the intended purpose for the structures, if the structures meet the Court’s claim
construction, they infringe. (Doc. No. 177, Pl. Br., at 18–20, Doc. No. 193, Def.’s Reply
Br., at 15–16). Because the Court finds that there is sufficient evidence to create a
genuine issue of material fact as to whether the accused products are infringing, the
Court declines to address DTNA’s argument any further.


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      This Court has completed the first step in analyzing a claim for patent

infringement—claim construction. In its Markman Order this Court accepted the

parties agreed upon construction of a “sacrificial anode” as a “piece of metal used to

protect another piece of metal by preferentially corroding.” (Doc. No. 41 at 8).

      In its brief, and at the motion hearing, (Doc. No. 226), DTNA engaged in

lengthy discussion over the meaning of the word “protect,” arguing that to “protect”

the piece of metal it must totally “prevent” corrosion from occurring. Ultimately, this

argument inserts issues of claim construction back into the mix. Using its definition

of “protect,” DTNA concludes that EPS is out of luck on its infringement claims

because the testing results do not indicate that the presence of the accused devices

result in total prevention of corrosion as DTNA argues should happen when a

sacrificial anode is present to “protect” the other piece of metal. Under DTNA’s

preferred construction, if the piece of metal sought to be protected corrodes at all,

then the piece of metal tasked with preferentially corroding and protecting cannot be

said to have protected the other piece of metal.

      EPS argues that “protect” and “prevent” are not interchangeable, and the

Court should proceed with the agreed upon construction, wherein the word “protect”

and not “prevent” is found.

      “[D]istrict courts may engage in a rolling claim construction, in which the court

revisits and alters its interpretation of the claim terms as its understanding of the

technology evolves.” Pressure Prod. Med. Supplies, Inc. v. Greatbatch Ltd., 599 F.3d

1308, 1316 (Fed. Cir. 2010) (first quoting Pfizer, Inc. v. Teva Pharm., USA, Inc., 429



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F.3d 1364, 1377 (Fed. Cir. 2005); and then citing Utah Med. Prods., Inc. v. Graphic

Controls Corp., 350 F.3d 1376, 1381–82 (Fed. Cir. 2003)). When the inventor does not

act as a lexicographer or disavow claim scope for a term, the plain and ordinary

meaning controls. Hill-Rom Servs., Inc. v. Stryker Corp., 755 F.3d 1367, 1371 (Fed.

Cir. 2014). Here, the inventor neither acted as a lexicographer nor disavowed the

claim scope of the term “protect.” Thus, the plain and ordinary meaning controls.

         The Court agrees with Plaintiff EPS that “protect” in general usage includes

but does not require total prevention. (Doc. No. 226 at 32:24–33:1 (“You’re protecting

that tube because it’s not losing as much as it otherwise would have.”)). It appears to

the Court that neither Plaintiff EPS’s product nor the accused products have found

the silver bullet for ending all corrosion caused by electrolysis in radiators. More

realistically, to the extent that electrolysis prevention materials are present in EPS’s

patented product or the accused products, they have sought to protect radiators from

electrolysis in a way that staves off its inevitable demise for a while longer. Thus, the

word “protect” within the claim construction of a sacrificial anode does not describe a

total prevention. Instead, it describes some protection. Construing the term any other

way would likely exclude EPS’s patented product itself, and the Court observes that

a claim construction that would exclude the inventor’s device is rarely the correct

interpretation. Osram GmbH v. Int'l Trade Comm’n, 505 F.3d 1351, 1358 (Fed. Cir.

2007).

         Therefore, the question now becomes whether EPS presents sufficient evidence

to show that the accused products contain a “piece of metal used to protect another



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piece of metal by preferentially corroding,” where “protect” means the “piece of metal”

offers some, but not absolute, protection. (Doc. No. 41 at 8).

      EPS points to evidence from which a reasonable jury could find that the

accused products contain a “sacrificial anode” and infringe the patent-in-suit.2 To

show infringement, Plaintiff EPS points to the reports of its expert, Mr. Nranian and

testing performed by Mr. Krantz. (Doc. No. 177, Pl. Br., at 22; Doc. No. 177-6, Nranian

Opening Rep.). Mr. Nranian expresses his opinion that the accused products meet

“every limitation of each Asserted Claim.” (Doc. No. 177-6, Nranian Opening Rep. at

¶ 55). Further, Mr. Nranian explains that he reviewed the testing conducted by Mr.

Bradley Krantz to conclude that the accused products meet the Court’s claim

construction of a sacrificial anode. (Id. at ¶ 79–88). In reviewing the testing, Mr.

Nranian concluded that each of the accused products contains a sacrificial anode

“because they are each a piece of metal used to protect another piece of metal . . . by

preferentially corroding.” (Id. at ¶ 105). Discussing the testing results, he explained

that the difference in values in the mass loss, corrosion rate, and mass loss rate

between the “Tubes without Anodes” and the “Tubes with Anodes” in the Benchtop

Test Results inform his opinion that the accused products contain sacrificial anodes

which preferentially corrode to protect the tubes. (Doc. No. 177-6, Nranian Rep., at ¶

106; Doc. No. 177-6, App’x C, Krantz Testing Rep., at 114–17). Mr. Nranian also




2 Some of the evidence discussed herein was subject to motions to strike and exclude

pursuant to Daubert. (Doc. Nos. 163, 186). Those motions were denied. (Doc. No. 230).
Accordingly, arguments regarding the exclusion of that evidence are not addressed
here.
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detailed the impact of volume resistivity displayed in the testing, noting that lower

volume resistivity inserts attract more stray current which allows them to

preferentially corrode before the tube. (Doc. No. 177-6, Nranian Rep., at ¶ 107; Doc.

No. 177-6, App’x C, Krantz Testing Rep., at 114–17). As to evidence regarding an

“anode holder” as asserted in claim 37, EPS presents evidence that the accused

products have an “anode holder” in its expert reports. (Doc. No. 177-6, Nranian Rep.,

at ¶¶ 148–151).

      Here, contrary to DTNA’s view, the evidence presented by EPS shows that

there are genuine issues of material fact as to whether the accused products meet the

Court’s claim construction of a sacrificial anode and contain anode holders. Sufficient

evidence exists such that a reasonable jury could find infringement. Thus, it is for the

jury to decide whether the accused structures infringe the patent-in-suit. Therefore,

Defendant’s motion for summary judgment as to noninfringement is denied.

      B. Defendant DTNA is not entitled to summary judgment as to
         priority date.

      DTNA observes that the law requires corroboration of conception and

reduction to practice before an inventor can claim an earlier priority date. (Doc. No.

169 at 20). DTNA contends that because EPS does not proffer evidence which can

provide corroboration of its claimed conception date or reduction to practice, summary

judgment denying Plaintiff’s claimed priority date should be granted. (Doc. No. 169

at 21, 26). In response, EPS contends that issues of fact exist regarding whether

Plaintiff should be entitled to a priority date before September 30, 2008, and that Mr.

Catalano reduced the invention to practice by March 2008. (Doc. No. 177 at 24, 26).

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      “[P]riority of invention goes to the first party to reduce an invention to practice

unless the other party can show that it was the first to conceive of the invention and

that it exercised reasonable diligence in later reducing that invention to practice.”

Medichem, S.A. v. Rolabo, S.L., 437 F.3d 1157, 1169 (Fed. Cir. 2006) (quoting Cooper

v. Goldfarb, 154 F.3d 1321, 1327 (Fed. Cir. 1998)). “[A] patentee bears the burden of

establishing that its claimed invention is entitled to an earlier priority date than an

asserted prior art reference.” In re Magnum Oil Tools Int'l, Ltd., 829 F.3d 1364, 1376

(Fed. Cir. 2016) (citing Dynamic Drinkware, LLC v. Nat'l Graphics, Inc., 800 F.3d

1375, 1379 (Fed. Cir. 2015)). Accordingly, the patentee has the burden of production

to proffer evidence which supports an earlier priority date. Id. at 1375–76.

      1. Conception

      Conception is the “formation in the mind of the inventor, of a definite and

permanent idea of the complete and operative invention, as it is hereafter to be

applied in practice.” Dawson v. Dawson, 710 F.3d 1347, 1352 (Fed. Cir. 2013) (citing

Hybritech Inc. v. Monoclonal Antibodies, Inc., 802 F.2d 1367, 1376 (Fed. Cir. 1986)).

“A conception must encompass all limitations of the claimed invention and is

complete only when the idea is so clearly defined in the inventor’s mind that only

ordinary skill would be necessary to reduce the invention to practice, without

extensive research or experimentation.” Singh v. Brake, 222 F.3d 1362, 1367 (Fed.

Cir. 2000) (cleaned up) (first citing Kridl v. McCormick, 105 F.3d 1446, 1449, 41

USPQ2d 1686, 1689 (Fed. Cir. 1997); and then quoting Burroughs Wellcome Co. v.

Barr Lab., Inc., 40 F.3d 1223, 1228, 32 USPQ2d 1915, 1919 (Fed. Cir. 1994)).



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“Conception is a question of law based on underlying facts.” Singh v. Brake, 222 F.3d

1362, 1367 (Fed. Cir. 2000) (citing Eaton v. Evans, 204 F.3d 1094, 1097, 53 USPQ2d

1696, 1698 (Fed. Cir. 2000)).

      “An inventor can swear behind a reference by proving he conceived his

invention before the effective filing date of the reference and was diligent in reducing

his invention to practice after that date.” Apator Miitors ApS v. Kamstrup A/S, 887

F.3d 1293, 1295 (Fed. Cir. 2018) (citing Perfect Surgical Techniques, Inc. v. Olympus

Am., Inc., 841 F.3d 1004, 1007 (Fed. Cir. 2016)). However, a party who “seeks to prove

conception through an inventor’s testimony” must present evidence beyond the

inventor’s own statements and documents to corroborate the inventor’s testimony. Id.

“[E]vidence of corroboration must not depend solely on the inventor himself.” Cooper

v. Goldfarb, 154 F.3d 1321, 1330 (Fed. Cir. 1998) (first citing Reese v. Hurst, 661 F.2d

1222, 1225, 211 U.S.P.Q. 936, 940 (CCPA 1981); then citing Hahn v. Wong, 892 F.2d

1028, 1032, 13 U.S.P.Q.2d 1313, 1317 (Fed.Cir.1989)).

      “There is no particular formula that an inventor must follow in providing

corroboration of his testimony of conception. Rather, whether a putative inventor’s

testimony has been sufficiently corroborated is determined by a “rule of reason”

analysis, in which an evaluation of all pertinent evidence must be made so that a

sound determination of the credibility of the inventor’s story may be reached.” Singh

v. Brake, 222 F.3d 1362, 1367 (Fed. Cir. 2000) (cleaned up). “This rule-of-reason

analysis does not require every aspect of an inventor’s testimony to be explicitly




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corroborated with a source independent of the inventor.” Mosaic Brands, Inc. v. Ridge

Wallet LLC, 55 F.4th 1354, 1363 (Fed. Cir. 2022) (citations omitted).

      The rule of reason analysis looks to the following criteria to determine whether

the corroboration requirement is met: (1) the relationship between the corroborating

witness and the alleged prior user, (2) the time period between the event and trial,

(3) the interest of the corroborating witness in the subject matter in suit,

(4) contradiction or impeachment of the witness’ testimony, (5) the extent and details

of the corroborating testimony, (6) the witness’ familiarity with the subject matter of

the patented invention and the prior use, (7) the probability that a prior use could

occur considering the state of the art at the time, and (8) the impact of the invention

on the industry, and the commercial value of its practice. Woodland Tr. v. Flowertree

Nursery, Inc., 148 F.3d 1368, 1371 (Fed. Cir. 1998).

      Thus, “[w]hether testimony is sufficiently corroborated is ultimately a question

of fact.” Id.; see also Nobel Biocare Servs. AG v. Instradent USA, Inc., 903 F.3d 1365,

1378 (Fed. Cir. 2018), as amended (Sept. 20, 2018) (citing Fleming v. Escort Inc., 774

F.3d 1371, 1377 (Fed. Cir. 2014)).

      Documentary evidence made contemporaneously with the conception of the

invention is the most reliable form of corroboration. Mosaic Brands, Inc. v. Ridge

Wallet LLC, 55 F.4th 1354, 1364 (Fed. Cir. 2022). But the fact that corroborating

materials, like notebook entries, are witnessed several months to a year after the

entry “does not necessarily disqualify” them from serving as corroboration “in view of

other corroborating evidence.” Woodland Tr., 148 F.3d at 1369 (citing Hybritech Inc.



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v. Monoclonal Antibodies, Inc., 802 F.2d 1367, 1378, 231 USPQ 81, 89 (Fed. Cir.

1986)). “[C]orroborating evidence is taken as a whole; conception of an entire

invention need not be reflected in a single source.” Univ. of Pittsburgh of the

Commonwealth Sys. of Higher Educ. v. Hedrick, 573 F.3d 1290, 1298 (2009) (citing

Price v. Symsek, 988 F.2d 1187, 1196 (Fed. Cir. 1993)).

      The Court now turns to various cases to illustrate the varying levels of evidence

under which courts have and have not found that a reasonable jury could conclude

that there was sufficient corroboration of conception.

      Mosaic provides an example of the preferred, documentary evidence of

corroboration. In Mosaic, the inventor testified that his invention was first sold in

2011. Mosaic Brands, Inc. v. Ridge Wallet LLC, 55 F.4th 1354, 1364 (Fed. Cir. 2022).

As support, he attached two documents to his declaration: design plans for the

invention from October 2010 and invoices seemingly showing that the invention was

sold at a trade show in 2011. Id. The Federal Circuit concluded that if a reasonable

factfinder credits the inventor’s testimony and “finds his documents to be authentic,

which she could, this collection of evidence would provide a sufficient basis from

which the factfinder could find that the [invention] was on sale by 2011.” Id.

       Pointing to the district court’s apt observations, the Federal Circuit explained

that the design drawing documents attached to the inventor’s declaration could be

found to be the “most reliable” form of corroboration in that it is documentary

evidence that    was created contemporaneously           with the events requiring

corroboration. Id. The Federal Circuit held that the district court did not err in



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finding that the plaintiff presented “legally sufficient” evidence of corroboration of the

inventor’s testimony regarding the date of the invention. Id. In holding that the

district court went too far in finding the evidence of corroboration was credible and

granting summary judgment on anticipation, the Court made clear that when legally

sufficient evidence of corroboration is presented, whether the evidence presented is

credible should, of course, be left to the jury. Id. at 1365.

       Hybritech featured less-than-ideal corroboration, namely the “sparsely

documented work of a start-up company.” Hybritech Inc. v. Monoclonal Antibodies,

Inc., 802 F.2d 1367, 1376 (Fed. Cir. 1986). There, the Federal Circuit reversed the

district court’s finding that there was no clear or corroborated evidence regarding

“when before May 1980” the idea of for the claimed invention was conceived. Id. The

Federal Circuit found that “the Hybritech laboratory notebooks and the nature of

Hybritech’s research program fully corroborate the testimonial evidence of

conception” and support the holding that Hybritech conceived the claimed invention

at its stated time. Id. at 1376–77. At issue as means of corroboration were laboratory

notebooks, some of which were unwitnessed until later. Id. at 1376. The Federal

Circuit concluded that “[t]he laboratory notebooks, alone, are enough to show clear

error in the findings that underlie the holding that the invention was not conceived

before May 1980. That some of the notebooks were not witnessed until a few months

to one year after their writing does not make them incredible or necessarily of little

corroborative value.” Id. at 1378. Observing the nature of Hybritech as a young and

growing company that “failed to have witnesses sign the inventors’ notebooks



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contemporaneously with their writing,” the Court concluded that “[u]nder a reasoned

analysis and evaluation of all pertinent evidence . . . Hybritech, within a reasonable

time thereafter, prudently had researchers other than those who performed the

particular experiments witness the notebooks.” Id. The Court noted that the

“notebooks clearly show facts underlying and contemporaneous with conception of the

claimed invention and in conjunction with the testimony of [the inventors], and

others, are altogether legally adequate documentary evidence, under the law

pertaining to conception, of the formation in the minds of the inventors of a definite

and permanent idea of the complete and operative invention.” Id.

      Apator provides an example of when the proffered evidence of corroboration is

not legally sufficient. See Apator Miitors ApS v. Kamstrup A/S, 887 F.3d 1293 (Fed.

Cir. 2018). In Apator, the Federal Circuit addressed whether substantial evidence

supported the United States Patent and Trademark Office Patent Trial and Appeal

Board’s finding that Apator failed to sufficiently corroborate inventor’s testimony of

conception. Id. at 1294. The Court concluded that substantial evidence supported the

Board’s finding that Apator failed to sufficiently corroborate the inventor’s testimony

of conception at the asserted date because Apator failed to proffer any evidence of the

invention’s conception that was not supported solely by the inventor. Id. at 1296. The

proffered evidence consisted of emails from the inventor and drawings produced by

the inventor. Id. The first email was written by the inventor wherein he discusses his

new findings and states that a sample of these findings is attached. Id. In the second

email, the inventor discusses his “latest project” and notes that he attached a



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presentation. Id. The emails did not provide the attached files such that one could

tell what was included within the original attachment. Id. Further, the drawings

which the inventor submitted noted they were modified two years after the purported

conception date, but the inventor claimed based on his file-naming convention, it was

actually created earlier. Id. However, no evidence addressed this file-naming

convention. Id. In sum, the Court concluded that the fatal flaw for the proffered

corroboration evidence was its inventor dependence—none of the evidence could

stand apart from the inventor’s testimony and establish corroboration. Id.

      Lastly, in Opticurrent, the District Court for the Northern District of California

addressed conception and held that a dated drawing created by the inventor which

contained three unauthenticated signatures, claiming to have read and understood

the drawing, was sufficient to raise a genuine issue of material fact as to

corroboration and therefore conception. Opticurrent, LLC v. Power Integrations, Inc.,

No. 17-CV-03597-WHO, 2018 WL 1730326, at *4 (N.D. Cal. Apr. 10, 2018), on

reconsideration, No. 17-CV-03597-WHO, 2018 WL 3956423 (N.D. Cal. Aug. 17, 2018)

(finding the claimed priority date established by affidavit evidence).

      Here, EPS seeks to establish a priority prior to September 30, 2008;

specifically, plaintiff seeks a July/August 2007 priority date, noting that the invention

was conceived of prior to that date. (Doc. No. 177 at 24). DTNA argues that none of

the corroborating documents show anything about the claimed invention. (Doc. No.

169 at 21). DTNA contends that of the 69 documents cited by Plaintiff in its second

supplemental response to Interrogatory 1, (Doc. No. 162-9, Plaintiff’s Second Supp.



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Resp. to Interrogatories No. 1, 5, and 6, at 4–7), none are sufficient to corroborate the

inventor’s conception testimony. (Doc. No. 169, Def’s Memo SJ, at 21). EPS responds

that “[t]he only specific claim element that Defendant contends is not corroborated is

the location of the sacrificial anode being within 10 inches of the radiator inlet[,]” and

that this gap in corroboration is not fatal to Plaintiff’s priority contentions under

Mosaic. (Doc. No. 177, Pl. Resp. Memo, at 25). Further, EPS asserts that the fact that

the inventors disclosed the location of the anode to his father, Charles Catalano,

during their 2007 meeting is corroborated by testimony and documentary evidence.

(Doc. No. 177, Pl. Resp. Memo, at 25).

       EPS presents evidence from which a fact finder could conclude a conception

date as early as July or August 2007. Further, evidence exists from which a

reasonable jury could conclude that the conception date was sufficiently corroborated

by one other than the inventor himself.

       The inventor Frank Catalano claims he conceived of his invention in July or

August of 2007. (Doc. No. 179, F. Catalano Decl., at 2). He anchors this date to the

birth of his son who was born in June 2007. (Id.). Frank Catalano explains that he

met with his dad, Charles Catalano, in July or August 2007 and shared his idea that

is the subject of the patent-in-suit. (Id. at 3). He claims that he described to his father

that his idea “that locating a piece of metal near the inlet would cause the stray

electric current to attack, or corrode, the anode as opposed to the other parts of the

radiator, such as the tubes, header, etc.” (Id.). Further, he explained to his father that

the “location of the weaker or more otherwise more attractive metal was important”



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and this included locating the piece of metal within 10 or 12 inches of the inlet. (Id.).

Notably, the inventor does not assert that he conceived of locating the sacrificial

anode within 10 inches of the inlet at this point. During this meeting, Frank Catalano

claims he drew diagrams for his father. (Id.). Frank Catalano asserts that Document

EPS000866, (Doc. 179-3), is representative of the diagrams he drew for his father,

though he admits he did not retain his original notes from the meeting. (Id.).

Document EPS000866, (Doc. 179-3), provides that the inlet will be located within “12

[inches] off inlet connection” rather than 10 inches, which is required by the patent

claims. Frank Catalano declares that he had developed a prototype that was ready

for testing by March 2008, noting that he began testing his invention “by installing

[the anode] inside the radiators of Ford F-150 trucks within 10 inches of the inlet.”

(Doc. No. 179, F. Catalano Decl., at 5).

      To corroborate the inventor’s claimed conception date, Plaintiff points to the

deposition testimony of the inventor’s father, Charles Catalano. (Doc. No. 177, Pl.

Resp. Memo, at 25). Charles Catalano, discussed a meeting at Frank’s house in the

summer of 2007, after the birth of Frank’s son, where Frank showed him drawings

and pictures regarding his invention. (Doc. No. 180-1, C. Catalano Depo., at 34:16–

35:4; 44:8–50:6; 63:21–66:12). During his deposition, Charles Catalano was shown a

document, EPS 000866, (Doc. No. 179-3), which Charles recognized as a drawing of

Frank’s that he used to show him the invention. (Doc. No. 180-1, C. Catalano Depo.,

at 63:7–64:24). Charles Catalano testified at his deposition that he recalled his son,

Frank Catalano, “talking about [the location of the anode with respect to the inlet],”



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but he could not recall “how many inches it was away.” (Doc. No. 180-1, C. Catalano

Depo., at 65:23–66:4). Further, he testified that he knew that “later on at some time

he said it was ten inches,” but he did not know “when exactly it changed.” (Doc. No.

180-1, C. Catalano Depo., at 66:2–66:12). Charles also testified to discussions on “that

Sunday morning” involving how Frank would “weld the aluminum bong that would

hold [the anode] in the radiator.” (Doc. No. 180-1, C. Catalano Depo., at 68:23–70:19).

Charles also explained that his conversations with Frank included discussion about

the type of metal Frank would choose to build the anode and why he sought to use

any specific type of metal. (Doc. No. 180-1, C. Catalano Depo., at 77:6–80:25).

      Moving on to the deposition of Misty Leighton-Petrosino, Frank Catalano’s ex-

wife, she testified that Frank Catalano came up with the patented invention and

“talked about it incessantly” and made drawings of it. (Doc. No. 180, M. Leighton-

Petrosino Depo., at 34:22–35:23). She testified that she recalled Frank Catalano

talking about issues relating to his patent around 2007, recalling the birth of her son

in June 2007. (Doc. No. 180, M. Leighton-Petrosino Depo., at 36:23–38:4). She also

recalled seeing drawings related to the invention around June or July 2007 and that

Frank Catalano talked about “anodes” and “electrolysis.” (Doc. No. 180, M. Leighton-

Petrosino Depo., at 39:15–41:15).

      Frank Catalano’s sister, Kelly Mariano, was also deposed and asked about his

drawings. (Doc. No. 180-2, K. Mariano Depo, at 107:25–108:15). She reviewed an

exhibit, (Doc. No. 179-3, EPS000866), and concluded that the “doodles” were the kind

of drawings Frank Catalano would do and that she recognized the handwriting in the



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document was Frank Catalano’s. (Id. at 107:25–108:15). She also testified that she

recalled overhearing a conversation related to electrolysis during the summer of 2007

which she considered “above [her] head.” (Id. at 41:25–42:17).

      The evidence provided creates a genuine issue of material fact as to the

conception date and the corroboration of that date. Legally sufficient evidence has

been produced such that a reasonable jury could credit the evidence and conclude

that Plaintiff’s claimed conception date is sufficiently corroborated. The testimony of

Charles Catalano, Misty Leighton-Petrosino, and Kelly Mariano, all speak to the

meeting between Charles and Frank, wherein the invention was disclosed. The

evidence presented here is akin to Hybritech, where the evidence was less-than-ideal,

but looking at the evidence as a whole, it would allow a reasonable juror to find

corroboration of an earlier conception date. 802 F.2d at 1378. Even though the

notebooks at issue in Hybritech were not witnessed until months later, the notebooks

combined with the testimony of the inventors and others showed “formation in the

minds of the inventors of a definite and permanent idea of the complete and operative

invention.” Id. Likewise, in this case, there are drawings which witnesses affirm are

the inventor’s handwriting and similar to what was shown at the summer gathering

in July or August 2007. (Doc. No. 180-1, C. Catalano Depo., at 63:7–64:24; Doc. No.

180-2, K. Mariano Depo., at 107:25–108:15). Further, while the drawing details

placing the anode 12 inches from the inlet, the testimony of Charles Catalano,

corroborates that it was eventually solidified at 10 inches. (Doc. No. 180-1, C.




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Catalano Depo., at 65:23–66:12). This evidence is legally sufficient to allow the jury

to determine if Plaintiff is entitled to an earlier priority date.

       The evidence presented here is also distinguishable from Apator. In Apator,

the proffered evidence was emails from the inventor and drawings created by the

inventor. 887 F.3d at 1296. Neither the dates on the drawings nor the file naming

conventions of the documents were supported by anything other than the inventor’s

testimony. Id. In contrast, here, several witnesses attest to seeing similar drawings,

and at least one witness other than the inventor recalls learning of the specifics of

the invention, including the discussion of anodes, the distance of the anode from the

inlet, and the metals used. (Doc. No. 180-1, C. Catalano Depo., at 65:23– 66:12, 68:23–

70:19,77:6–80:25; (Doc. No. 180, M. Leighton-Petrosino Depo., at 39:15–41:15).

       Defendant relies heavily on Plaintiff’s lack of contemporaneous documentation

to defeat Plaintiff’s corroboration evidence at this stage. (Doc. No. 169, Def. Br., at 22;

Doc. No. 193, Def. Reply, at 20–21). Mosaic Brands, Inc., 55 F.4th at 1364 (noting

that documentary evidence made contemporaneously with the conception of the

invention are the most reliable form of corroboration). But, while that would be

preferred, it is not required under the law. Singh, 222 F.3d at 1367 (“There is no

particular formula that an inventor must follow in providing corroboration testimony

of conception. . . . [A]n evaluation of all pertinent evidence must be made so that a

sound determination of the credibility of the inventor’s story may be reached.”). The

key requirement of corroboration evidence is that it does not depend solely on the

inventor himself. See Cooper, 154 F.3d at 1330. Here, evidence exists beyond the



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inventor himself which could corroborate his testimony as to the invention’s

conception date.

        Defendant also argues that the witnesses are “interested parties,” and thus, it

follows, incapable of providing sufficient corroboration as a matter of law. (Doc. No.

169, Def. Br., at 25). Woodland Tr., 148 F. 3d at 1372–73 (addressing the interest of

the corroborating witness in the subject matter of the suit and the relationship

between the corroborating witness and the inventor as factors in the rule of reason

analysis). However, the interest of the witness is just one factor of many for the jury

to consider in assessing credibility of the witnesses and the corroboration evidence

offered. Plaintiff’s proffered evidence corroborating conception is far from ideal, but

it is legally sufficient to create a genuine issue of material fact as to corroboration of

the inventor’s claimed conception date. Thus, the evidence presented establishes a

genuine issue of material fact which precludes summary judgment on the conception

date.

        2. Reduction to Practice

        Moving on to the next step of establishing an earlier priority date, “[i]n order

to establish an actual reduction to practice, the inventor must prove that: (1) he

constructed an embodiment or performed a process that met all the limitations . . . ;

and (2) he determined that the invention would work for its intended purpose.”

Cooper, 154 F.3d at 1327.

        Further, “[i]n order to establish an actual reduction to practice, an inventor’s

testimony must be corroborated by independent evidence.” Id. at 1330 (citing Knorr



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v. Pearson, 671 F.2d 1368, 1373, 213 U.S.P.Q. 196, 200 (CCPA 1982)). “[A]n actual

reduction to practice does not require corroboration for every factual issue contested

by the parties.” Id. (citing Ethicon, Inc. v. United States Surgical Corp., 135 F.3d

1456, 1464, 45 U.S.P.Q.2d 1545, 1551 (Fed.Cir.1998); Mann v. Werner, 52 C.C.P.A.

1578, 347 F.2d 636, 640, 146 U.S.P.Q. 199, 202 (1965)). However, “corroboration of

the existence of the device is not sufficient . . . to establish corroboration of reduction

to practice. It is also necessary to corroborate that the device worked for its intended

purpose.” In re Garner, 508 F.3d 1376, 1381 (Fed. Cir. 2007) (citing Hahn v. Wong,

892 F.2d 1028, 1032 (Fed.Cir.1989)). In addition, “[a] party that is first to conceive

but second to reduce to practice may nonetheless show priority if it can establish

diligence. Precedent requires that an inventor’s testimony concerning his diligence

be corroborated.” Opticurrent, LLC, 2018 WL 1730326, at *6 (quoting Brown v.

Barbacid, 436 F.3d 1376, 1380 (Fed. Cir. 2006)). Diligence is a question of fact. In re

Meyer Mfg. Corp., 411 F. App’x 316, 319 (Fed. Cir. 2010).

      Reasonable diligence must be shown throughout the entire critical period,
      which begins just prior to the competing reference’s effective date, and ends on
      the date of the invention’s reduction to practice. The diligence need only be
      reasonably continuous, permitting periods of inactivity within the critical
      period. However, the showing of diligence must be sufficient to assure that, in
      light of the evidence as a whole, the invention was not abandoned or
      unreasonably delayed.

Meta Platforms, Inc. v. Angel Techs. Grp. LLC, No. IPR2023-00059, 2023 WL

5158227, at *8 (P.T.A.B. May 11, 2023) (cleaned up) (quoting Perfect Surgical

Techniques, Inc. v. Olympus America, Inc., 841 F. 3d 1004, 1007, 1009, 1010–11 (Fed.

Cir. 2016)).



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        EPS has presented sufficient evidence from which a reasonable jury could find

diligent reduction to practice. Frank Catalano explained in his declaration that after

his meeting with his father, he began developing a prototype. (Doc. No. 179 (F.

Catalano Decl.) at 4). This development continued into Fall 2007 and into 2008. Id.

at 4–5. He noted that by March 2008, his prototype was ready to be tested. Id. at 5.

The testing concluded in September 2008. Id. The results of the testing showed that

the anodes experienced “substantial pitting and corrosion” but “the radiators did not

experience any failure.” Id. at 6. Frank Catalano explained that he consistently and

continuously worked on his invention from March to September 2008. Id.

        Documents and witness testimony exist to corroborate Frank Catalano’s

description of events in reducing his invention to practice. The document marked

EPS000875 contains Frank Catalano’s notes in short form and indicates he tested the

anode in Ford F-150 trucks beginning in March 2008. (Doc. No. 179-5 (EPS000875)

at 2). He checked on the anodes and the radiators throughout the testing and noted

in September 2008 the results of the testing that the radiators had not been ruined

by electrolysis. Id. Plaintiff also presents photos of the anodes before and after six

months in the radiator. (Doc. No. 179-4). The after photos show corrosion of the anode.

Id.

        Further, in Charles Catalano’s deposition, he testified that Frank Catalano

was “making the actual anode and trying it in different vehicles” in late 2007 or early

2008. (Doc. No. 180-1, C. Catalano Depo., at 94:17-96:6). He testified that he vaguely

remembered a Ford F-150 being tested. Id. at 121:16-122:7. In addition, Charles



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Catalano recalled that from the time Frank conceived of the invention in July 2007,

he never took a break from working on the anode. Id. at 154:23-155:17.

      In sum, the inventor claims that he began testing his anode in March 2008 and

completed testing in September 2008. His notes, created in October 2008, indicate

the same time, and the notes detail that the testing was successful. Further, Charles

Catalano’s testimony speaks to the testing during this identified time period. And

photographic evidence indicates that the anode was successful.

      In response to Plaintiff’s proffered documentary evidence of the inventor’s

notes, Defendant asserts that based on meta data reports, Frank Catalano’s notes

were created in October 2008—too late according to Defendant. (Doc. No. 193, Def.

Reply, at 22; Doc. No. 162-10, Meta Data, at 2). That is not fatal to corroboration. The

notes appear to have been made contemporaneously with the conclusion of testing.

      Further, the bulk of Defendant’s argument on reduction to practice asserts that

the reduction to practice of the invention is without sufficient corroboration and that

Frank Catalano lacked diligence in his reduction to practice. (Doc. No. 169, Def. Br.,

at 26–27). As detailed above, there is legally sufficient evidence of corroboration. If a

jury credits the evidence, it could find the inventor’s reduction to practice is

corroborated. As to diligence, the inventor’s and Charles Catalano’s statements

describe that the inventor continued to work on his invention during the time period

from conception to September 2008. A reasonable juror could find that Frank

Catalano was diligent in reducing his invention to practice.




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      Therefore, for the reasons explained above, summary judgment as to Plaintiff’s

claimed priority date is improper, and Defendant’s motion for summary judgment on

that issue is denied.

      C. Defendant DTNA is entitled to summary judgment as to pre-suit
         damages.

      DTNA argues that EPS is not entitled to pre-suit damages because the

inventor, Frank Catalano, did not provide constructive notice by marking patent-

practicing articles, and Plaintiff did not give actual notice of the asserted patent to

Defendant until the filing of the lawsuit on April 19, 2021. (Doc. No. 169 at 28).

Defendant concludes that because Plaintiff is not entitled to pre-suit damages as a

matter of law, summary judgment should be granted in its favor. (Doc. No. 169 at 28).

Plaintiff argues that Frank Catalano did not sell patent-practicing products, so

summary judgment in DTNA’s favor as to pre-suit damages is inappropriate. (Doc.

No. 177 at 27).

      Under 35 U.S.C. § 287(a), “[p]atentees, and persons making, offering for sale,

or selling within the United States any patented article . . . may give notice to the

public that the same is patented, either by fixing thereon the word “patent” or the

abbreviation “pat.”, together with the number of the patent[.]” This is known as

marking. “In the event of failure so to mark, no damages shall be recovered by the

patentee in any action for infringement, except on proof that the infringer was

notified of the infringement and continued to infringe thereafter[.]” 35 U.S.C. §

287(a).




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      Products must be marked irrespective of size. The statute provides ways in

which smaller articles can be marked by allowing that when “from the character of

the article, [marking cannot] be done, by fixing to it, or to the package wherein one

or more of them is contained, a label containing a like notice” will suffice. 35 U.S.C. §

287(a).

      “Pursuant to 35 U.S.C. § 287(a), a patentee who makes or sells a patented

article must mark his articles or notify infringers of his patent in order to recover

damages.” Arctic Cat Inc. v. Bombardier Recreational Prod. Inc., 876 F.3d 1350, 1365

(Fed. Cir. 2017) (citing Dunlap v. Schofield, 152 U.S. 244, 248 (1894)). “If a patentee

who makes, sells, offers for sale, or imports his patented articles has not ‘given notice

of his right’ by marking his articles pursuant to the marking statute, he is not entitled

to damages before the date of actual notice.” Id. at 1366 (citation omitted).

      “[A] patentee who never makes or sells a patented article may recover damages

even absent notice to an alleged infringer.” Arctic Cat Inc. v. Bombardier Recreational

Prod. Inc., 950 F.3d 860, 864 (Fed. Cir. 2020). But, as noted above, once “a patentee

makes or sells a patented article and fails to mark in accordance with § 287, the

patentee cannot collect damages until it either begins providing notice or sues the

alleged infringer.” Id. Accordingly, “cessation of sales of unmarked products” will “not

fulfill . . . notice obligations under § 287,” nor will it “remove the notice requirement

imposed by the statute.” Id. at 865.

      Frank Catalano’s testimony establishes that he never marked any product that

he sold. He testified that he placed a sign in the shop but that no sticker was affixed



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to the anodes sold. (Doc. No. 162-18, F. Catalano Depo., at 366:20—367:13). Further,

Plaintiff does not dispute that the products sold were never marked. (See Doc. No.

177 at 27—32).

         Thus, there is no dispute as to whether any items were marked. Only two

issues are argued: the effect of the reissue patent on Plaintiff’s obligation to mark and

whether the inventor ever sold products practicing the claims of the patent such that

the marking statute applies.

         1. The Effect of Reissue

         DTNA argues that EPS’s failure to mark is not excused by Frank Catalano’s

reissue proceedings, as the original patent remained in force during the reissue

proceedings. (Doc. No. 169 at 31). Plaintiff contends that any failure to mark under

the original patent is not imputable to the patent-in-suit because the amended or new

claims in the reissue patent speak from the date of reissue. (Doc. No. 177 at 25). It

appears that as Plaintiff sees it, the reissuance of the patent, provided Plaintiff with

a renewed opportunity to mark, and if the inventor never sold a product after reissue,

then there is no obligation to mark and no bar on damages from the point of reissue.

(Id.).

         Section 252 declares that “every reissued patent shall have the same effect and

operation in law, on the trial of actions for causes thereafter arising, as if the same

had been originally granted in such amended form[.]” 35 U.S.C. § 252. Further, “in so

far as the claims of the original and reissued patents are substantially identical, such

surrender shall not affect any action then pending nor abate any cause of action then



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existing, and the reissued patent, to the extent that its claims are substantially

identical with the original patent, shall constitute a continuation thereof and have

effect continuously from the date of the original patent.” 35 U.S.C. § 252.

      In Flatworld, the District Court for the District of Delaware observed that

under the plain language of section 252, “a patent undergoing reissue remains in force

during the reissue proceedings, and an accused infringer may be liable for infringing

activity occurring during the reissue prosecution.” Flatworld Interactives LLC v.

Samsung Elecs. Co., 77 F. Supp. 3d 378, 386–87 (D. Del. 2014). Thus, the district

court concluded that “the reissue proceedings did not absolve the marking

requirements of § 287” because the original patent remained in force during the

reissue proceedings. Id. at 387.

      It is well established that “the marking statute serves three related purposes:

1) helping to avoid innocent infringement; 2) encouraging patentees to give notice to

the public that the article is patented; and 3) aiding the public to identify whether an

article is patented.” Nike, Inc. v. Wal-Mart Stores, Inc., 138 F.3d 1437, 1443 (Fed. Cir.

1998) (cleaned up). “The marking statute protects the public’s ability to exploit an

unmarked product’s features without liability for damages until a patentee provides

either constructive notice through marking or actual notice.” Rembrandt Wireless

Techs., LP v. Samsung Elecs. Co., 853 F.3d 1370, 1383 (Fed. Cir. 2017) (citing Bonito

Boats, Inc. v. Thunder Craft Boats, Inc., 489 U.S. 141, 162 (1989)).

      Further, once practicing products are placed in the marketplace, the only way

to obtain damages is to begin providing notice—either through proper marking or



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actual notice of infringement. In Artic Cat II, the Federal Circuit reasoned that “[t]he

notice requirement to which a patentee is subjected cannot be switched on and off as

the patentee or licensee starts and stops making or selling its product[,]” noting that

“even after a patentee ceases sales of unmarked products, nothing precludes the

patentee from resuming sales” and “unmarked products remain on the market,

incorrectly indicating to the public that there is no patent.” 950 F.3d at 865.

Ultimately, the Federal Circuit concluded that “once a patentee begins making or

selling a patented article, the notice requirement attaches, and the obligation

imposed by § 287 is discharged only by providing actual or constructive notice.” Id.

          If the Court were to follow Plaintiff’s reasoning, the effect of the reissue patent

would provide Plaintiff with a renewed opportunity to mark. So, if the inventor never

sold a product after reissue, then there would be no obligation to mark and no bar on

damages from the point of reissue.

          Plaintiff cites Seattle Box for the proposition that “new claims in the reissue

patent speak from the date of reissue.” (Doc. No. 177 at 32). For its assertion, Plaintiff

latches onto the following language: “With respect to new or amended claims, an

infringer’s liability commences only from the date the reissue patent is issued.”

Seattle Box Co. v. Indus. Crating & Packing, Inc., 731 F.2d 818, 827 (Fed. Cir. 1984).

Defendant observes that Seattle Box had “nothing to do with marking” and that the

Federal Circuit specifically addressed when an infringer’s liability commences and

not when the rights of the public commence under the marking statute. (Doc. No. 193

at 24).



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      Defendant cites Rembrandt Wireless to illustrate that reissue should not be

permitted to subvert the purpose of the marking statute. In that case, the plaintiff’s

licensee sold products which practiced one of the claims of the plaintiff’s patent

without marking the products. Rembrandt Wireless Techs., 853 F.3d at 1382. The

defendant sought to limit the plaintiff’s damages to those incurred after the

defendant received notice of the patents once the complaint was filed; however, days

later, the plaintiff withdrew the one claim practiced by the products from its

infringement allegations and filed a statutory disclaimer, disclaiming the claim at

issue. Id. The district court held that because a disclaimed patent claim is treated as

if it never existed, the motion to bar pre-suit damages should be denied. Id. at 1382—

83. The Federal Circuit reversed, finding that the district court’s view “effectively

provides an end-run around the marking statute and is irreconcilable with the

statute’s purpose.” Id. at 1383. Focusing on “the rights of the public,” the Federal

Circuit observed that the district court’s ruling allowed the disclaimer to

“retroactively excuse its failure to mark,” which the Federal Circuit could not square

with the purpose of the marking statute to provide notice to the public. Id.

      The reasoning of Rembrandt Wireless is applicable to the case at bar. Cases

which apply section 252 indicate that a reissue patent does not subject would-be

infringers to liability for claims that do not exist yet. But importantly, reissue patents

do not disrupt litigation when claims are “substantially identical.” Simply put,

reissue patents are neither a sword for future litigation nor a shield from ongoing

litigation. It makes sense that a would-be infringer could not be held liable for



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infringing a patent for new claims in a reissue patent that were not claimed (and thus

did not exist) under the prior patent. However, when an inventor places products in

the marketplace and fails to mark those products, the chief concern regarding the

public is assuring the public has notice that those materials are patented. Nothing

before the Court indicates that a reissue patent resets the marking statute as if a

product were never sold, allowing the patent-holder a do-over at marking.

      Ultimately, the Court is persuaded that to the extent any patent-practicing

products were sold prior to the reissue patent’s issuance, those sales are imputed to

the reissue patent. To allow Plaintiff to get a do-over on marking by reissue patent,

would subvert the purpose of the marking statute and the generally understood effect

of a reissue patent. Here, the inventor never marked anodes under the original or

reissue patents. At all relevant times, Frank Catalano held a patent. Thus, to the

extent he sold practicing anodes, they were never marked. Therefore, Defendant

never had constructive notice. Once selling began it implicated the statute. The only

statutorily prescribed manner to begin recovering damages once products are sold is

proper marking—not obtaining a reissue patent.

      2. The Products Sold Practice the Claims

      DTNA argues that Frank Catalano failed to mark practicing anodes during the

pendency of his original patent. (Doc. No. 169 at 28). In contrast, EPS argues that

prior to the issuance of the patent-in-suit, which was a reissue patent, Frank

Catalano did not make or sell any product that practiced the original patent claims,

and thus, he had no obligation to mark. (Doc. No. 177 at 28). Here, there is no dispute



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that Frank Catalano never marked the products that he sold. The only dispute is

whether those products practiced the claims of the patent such that marking was

required in order to collect pre-suit damages.

      When marking disputes arise, “[t]he alleged infringer has the initial burden to

articulate the products it believes are unmarked patented articles subject to section

287. The burden then shifts to the patentee to prove the products identified do not

practice the patented invention.” Flexiworld Techs., Inc. v. Lexmark Int’l, Inc., No.

CV 5:22-97-KKC, 2023 WL 2573872, at *7 (E.D. Ky. Mar. 20, 2023) (quoting Artic Cat

I, 876 F.3d at 1368). The patentee must meet its burden of proving that the unmarked

items did not practice the patent claims by a preponderance of the evidence. Am.

Tech. Ceramics Corp. v. Presidio Components, Inc., No. 14-CV-6544(KAM)(GRB),

2018 WL 1525686, at *5 (E.D.N.Y. Mar. 27, 2018) (citing Nike, Inc. v. Wal-Mart

Stores, Inc., 138 F.3d 1437, 1446 (Fed. Cir. 1998)). In other words, once the alleged

infringer meets its burden to articulate the products it believes are unmarked

patented articles, the patentee “need only come forward with evidence showing that

a reasonable finder of fact could conclude, by a preponderance of the evidence” that

the products at issue do not practice the patent-in-suit. Id. at *7. “Making such a

showing requires specific facts showing that there is a genuine issue for trial.” Id.

(cleaned up).

      DTNA points to Frank Catalano’s testimony that he built radiators containing

sacrificial anodes in 2009. (Doc. No. 169 at 28: Doc. No. 162-18, F. Catalano Depo., at

238:12—239:25; 365:15—366:4). DTNA contends that Frank Catalano acknowledged



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these items were patented when he testified the following in response to a question

about the type of metal he used in the sacrificial anode: “I patented because I knew

that you would—people . . . I knew you could change the metal.” (Doc. No. 169 at 28;

Doc. No. 162-18, F. Catalano Depo., at 272: 9—372:19). Essentially, DTNA contends

that all anodes sold by Frank Catalano were practicing and unmarked. This satisfies

DTNA’s initial burden, and thus, shifts the burden to EPS to show by a

preponderance of the evidence that the products sold did not practice the claims of

the patent. See Arctic Cat Inc. I, 876 F.3d 1350, 1366 (Fed. Cir. 2017); Flexiworld

Techs., Inc., 2023 WL 2573872, at *7.

      EPS claims that Frank Catalano “never made or sold an electrolysis prevention

device with an anode holder ‘adapted to fit around the inlet connection’ of the

radiator.” (Doc. No. 177 at 28). Instead, EPS alleges that all sacrificial anodes sold by

Frank Catalano were installed using an anode holder in the form of a threaded fitting,

also called a bong, that was welded into the header of the radiator. (Id.). Thus,

according to EPS, the anodes sold did not practice claims 1 or 13—both of which

require an anode holder that is adapted to fit around the inlet connection of an engine

heat exchange component. (Id.).

      As evidence that the anodes which were sold did not practice the claims of the

patent, EPS presents the testimony of Frank Catalano. Frank Catalano set forth the

following in his declaration:

            25. I also previously manufactured a small number of sacrificial
      anode products, using the threaded fitting, or bong, anode holder design,
      and sold a few of these to customers of Webster Radiator. This design
      allowed for a cleaner, original-equipment-manufacture (“OEM”) look.

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      These sales would have occurred off and on from approximately 2009
      until Webster Radiator moved to its current, smaller location in late
      2015, early 2016.

             26. As discussed in my deposition, Webster Radiator used to make
      custom aluminum radiators for use in antique cars. In some of these
      custom aluminum radiators we would install a sacrificial anode by
      welding a threaded fitting, or bong, into the radiator and then screwing
      the sacrificial anode into the threaded fitting. However, Webster
      Radiator stopped doing this after late 2015, early 2016 when we
      downsized, and moved to a new, smaller location up the street. As part
      of that move, Webster Radiator got rid of a lot of the machining and
      welding equipment we used to have, including the equipment needed to
      make custom aluminum radiators and implement the threaded fitting,
      or bong, anode holder implementation of my invention.

             27. I never made or sold an electrolysis prevention device with an
      anode holder “adapted to fit around the inlet connection” of a radiator
      as required by claims 1 and 13 of my original patent, U.S. Patent No.
      8,236,145. Those claims were directed at the wire sleeve wrap around
      drop in anode holder implementation that I used as part of my testing.
      However, in my commercialization attempts I used the threaded fitting,
      bong, implementation. The threaded fitting, bong, implementation does
      not “fit around” or “through” the radiator inlet. Rather, the threaded
      anode holder is welded or otherwise secured into the side of the radiator
      to then receive the anode. It is not attached through or around the
      radiator inlet as required by claims 1 and 13 of my original patent.

(Doc. No. 179, F. Catalano Decl., at 7).

      Frank Catalano also provided deposition testimony that he sold anodes, but

the anodes did not practice the claims of the patent:

      Q. So you have built aluminum radiators, yes?

      A. We have built. I don’t weld the aluminum.
      ...
      Q. On those aluminum radiators, do you-all put sacrificial anodes?

      A. We’ve built—we used to build a lot more. Our shop is a little bit
      smaller now, and the space is—we don’t have a lot of the machining
      equipment we used to have. And what we did after 2009, ’10, ’11 till we



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  moved out of that building, I would—I would implement my anodes to
  them, yes. A lot of them, I put my anodes in them.

  Q. So some of them, but not all, you would put anodes in?

  A. Most of them . . .
  ...
  Q. Okay. So when you-all built aluminum radiator, you would put a
  sacrificial anode in some of them, correct?

  A. Some, yes.

  Q. Okay. How would you do that?

  ...

  A. Well, I would—I would take the anodes that we would make with
  the—and put them in a plastic thread. And then I would put the anode
  in it, and I would put a lead—a piece of threaded wire to go in the tip
  and push down so it would go and meet the anode.
  So we’d run a ground wire to it, and I would have the magnesium anode
  inside of it. And it was a big round piece, like the size around of my
  finger-type thing, you know?

  Q. So turn to your patent very briefly. Look at Figure 1A. Is that kind of
  what you’re talking about?

  A. What—what patent do you want? The reissued one or the first one?

  Q. It’s the same Figure 1A in either.

  A. Yeah. Well, no. That’s—that’s the drop-in-around-the-neck—

  Q. Okay.

  A. –one.

  Q. So how would what you put in the aluminum radiator differ from
  what’s shown here?

  A. Well, because if you go back—I put on there—this is like a drop-in for
  radiators that were already produced—

  Q. Sure.

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      A. –that I could put around the neck. And the problem was, it was—you
      have to have the ground wire come out of the hose. It was—it wasn’t
      perfect.
      And then I put them on the tank, and that would require them putting
      a hole in the radiator for it. And then I also put it around—anywhere
      around the inlet.
      And I—I personally would—would not like it on the core. I would like it
      on the tank. And I wouldn’t want the metal to come in contact with the
      core if I wanted to prolong the life of the radiator in a—more beneficial
      way.
      But I—I knew that they were going to put it on the core because that
      was going to be the way that they could cut me out of selling tons of
      anodes. So that’s why I included the attached-to-the-core embodiment
      and weld it to the radiator core.

(Doc. No. 178-2, F. Catalano Depo., at 237:22—239:9; 239:22—241:24). Further

testimony from Frank Catalano explains how he would “weld the bong” to implement

the anodes that he sold. Id. at 365:20—366:5.

      In addition, Plaintiff directs the Court to Charles Catalano’s testimony that

Frank showed him drawings and told him about “weld[ing] the aluminum bong that

would hold the device in the radiator” and welding the bong to the header of the

radiator. (Doc. No. 180-1, C. Catalano Depo., at 67:18—70:24; 72:13—75-1).

      In Packet Intelligence, the Federal Circuit held that the evidence presented by

the patentee was insufficient as a matter of law to carry its burden of proving that

the product in question did not practice the claims of patent-in-suit. Packet Intel. LLC

v. NetScout Sys., Inc., 965 F.3d 1299, 1314 (Fed. Cir. 2020). There, the plaintiff relied

on the inventor’s testimony that the product at issue did not embody the invention.

Id. But the inventor’s testimony was found lacking in that he was not qualified as an

expert and did not provide an infringement opinion regarding the particular product



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at issue. Id. The Federal Circuit noted that even if the inventor had testified about

the correct product and offered an expert opinion regarding whether the product

practiced the asserted claim, “his conclusory testimony failed to address what claim

limitations were purportedly missing from the product,” and ultimately, would have

been insufficient to carry the burden of proving that the product did not practice the

patent-in-suit. Id.

      In Am. Tech. Ceramics Corp., the plaintiff failed to produce evidence to meet

its burden when the evidence it produced only sought to call into question the validity

of the testimony of the defendant’s expert regarding whether the products that were

sold practiced the claims of the patent. Am. Tech. Ceramics Corp. v. Presidio

Components, Inc., No. 14-CV-6544(KAM)(GRB), 2018 WL 1525686, at *7 (E.D.N.Y.

Mar. 27, 2018). The district court concluded the Plaintiff produced no evidence

showing a genuine issue for trial. Id.

      Here, Frank Catalano asserts that the anodes sold did not practice Claims 1

and 13. His testimony attempts to describe the manner in which he installed anode

holders, including his testimony that he did not implement the anodes in the manner

described in Figure 1A of the patent. But, this testimony, even if credited by the jury,

is not enough to result in a finding that the anodes at issue did not practice the claims

of the patent and thus, were not subject to the marking statute. On this issue,

Plaintiff EPS has the burden to prove that it complied with the marking statute.

Testimony from only the inventor which states that the products sold did not practice

the claims of the patent is not sufficient to avoid summary judgment. To show a



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genuine issue of material fact, there must be evidence from which a reasonable jury

could find for Plaintiff. Anderson, 477 U.S. at 248. Here, Plaintiff fails provide any

expert testimony or any evidence of the products sold from which a jury could find by

a preponderance of the evidence that the products did not practice the claims of the

patent. The Court is left with only the inventor’s say-so that the products sold did not

practice the claims of the patent and a brief explanation as to why not. Considering

the evidence in the light most favorable to Plaintiff EPS, EPS cannot meet its burden

that its unmarked products did not practice the claims of the patent.

      Lastly, the parties devote significant argument in their briefs to discuss Frank

Catalano’s errata sheet regarding his testimony of when he last sold anodes. (Doc.

No. 169 at 32; Doc. No. 177 at 30—31; Doc. No. 193 at 28—30). Because the Court has

concluded that the sales made under the original patent are imputed to the reissue

patent and that EPS cannot meet its burden as a matter of law in showing that the

products sold do not practice the claims of the patent, the Court declines to address

the effect Frank Catalano’s errata sheet.

      The Court finds that EPS is not entitled to pre-suit damages as a matter of

law. Therefore, Defendant DTNA’s Motion for Summary Judgment as to pre-suit

damages is granted, and EPS is not entitled to pre-suit damages before the date of

actual notice—the date EPS filed the lawsuit.

      IV.    PLAINTIFF EPS’S MOTION FOR PARTIAL SUMMARY
             JUDGMENT OF INVALIDITY

      EPS argues that DTNA “cannot show that any of its alleged prior art

references, standing alone . . . disclose every element of any asserted claim.” (Doc. No.

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168, Pl. Br., at 15). Overall, EPS argues that summary judgment as to each of

Defendant’s anticipation theories is appropriate. (Id.). In addition, EPS contends that

the Topaz radiator is not prior art to the patent-in-suit, and thus summary judgement

is appropriate as to anticipation and obviousness regarding the Topaz radiator. (Id.).

In response, DTNA argues that “every issue involves competing facts and a battle of

the experts,” producing questions of fact for the jury, rather than issues of law to be

decided on summary judgment. (Doc. No. 184 (Def. Br.) at 6).

      “A patent shall be presumed valid. . . . [and t]he burden of establishing

invalidity of a patent or any claim thereof shall rest on the party asserting such

invalidity.” 35 U.S.C. § 282(a). Thus, an invalidity defense must be proved by clear

and convincing evidence. Microsoft Corp. v. I4I Ltd. P'ship, 564 U.S. 91, 95 (2011).

The clear and convincing evidence standard applies in the summary judgment

context. Invitrogen Corp. v. Biocrest Mfg., L.P., 424 F.3d 1374, 1378 (Fed. Cir. 2005)

(citing Nat'l Presto Indus., Inc. v. W. Bend Co., 76 F.3d 1185, 1189 (Fed.Cir.1996))

“Whether a patent is invalid due to public use under § 102(b) is a question of law

based on underlying questions of fact.” Id. (citing Netscape Communications Corp. v.

Konrad, 295 F.3d 1315, 1321 (Fed. Cir. 2002)).

      Prior art is a product or system that was “patented, described in a printed

publication, or in public use, on sale, or otherwise available to the public before the

effective filing date of the claimed invention.” 35 U.S.C. § 102. “The proper test for

the public use prong of the § 102(b) statutory bar is whether the purported use:

(1) was accessible to the public; or (2) was commercially exploited.” Pronova



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Biopharma Norge AS v. Teva Pharms. USA, Inc., 549 F. App'x 934, 938 (Fed. Cir.

2013) (citation omitted).

      “Anticipation is a question of fact. Obviousness is a question of law based on

underlying factual determinations. Those underlying factual determinations include:

(1) the scope and content of the prior art; (2) differences between the prior art and the

claims at issue; (3) the level of ordinary skill in the pertinent art; and (4) secondary

considerations such as commercial success, long felt but unsolved needs, and failure

of others.” Incept LLC v. Palette Life Scis., Inc., 77 F.4th 1366, 1371 (Fed. Cir. 2023)

(first citing Mylan Pharms. Inc. v. Merck Sharp & Dohme Corp., 50 F.4th 147, 152

(Fed. Cir. 2022); then citing KSR Int'l Co. v. Teleflex Inc., 550 U.S. 398, 427, 127 S.Ct.

1727, 167 L.Ed.2d 705 (2007); and then citing Graham v. John Deere Co., 383 U.S. 1,

17–18, 86 S.Ct. 684, 15 L.Ed.2d 545 (1966)).

      Further, “that which infringes, if later, would anticipate, if earlier.” Knapp v.

Morss, 150 U.S. 221, 228, 14 S. Ct. 81, 84, 37 L. Ed. 1059 (1893) (citations omitted).

             A prior art reference anticipates a claim if it discloses all of
             the claimed limitations and the limitations are arranged in
             the same way as in the claim. An anticipating prior art
             reference may anticipate the claimed invention expressly
             or implicitly, and the full scope of the prior art reference’s
             disclosure is considered. Additionally, prior art references
             should be considered for all that they teach, rather than
             being limited to a particular embodiment or the claimed
             invention of the prior art.

Hayward Indus., Inc. v. Pentair Water Pool & Spa, Inc., 814 F. App'x 592, 595–96

(Fed. Cir. 2020) (citations omitted). “The scope and content of the prior art are factual




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questions to be determined by the jury.” Kinetic Concepts, Inc. v. Blue Sky Med. Grp.,

Inc., 554 F.3d 1010, 1019 (Fed. Cir. 2009).

      Ultimately, “to be anticipating, a prior art reference must disclose each and

every limitation of the claimed invention, must be enabling, and must describe the

claimed invention sufficiently to have placed it in possession of a person of ordinary

skill in the field of the invention. If there is a genuine issue of material fact relevant

to any one of these factors, summary judgment is not proper.” Helifix Ltd. v. Blok-

Lok, Ltd., 208 F.3d 1339, 1346 (Fed. Cir. 2000) (cleaned up).

      For inherent disclosure,

      Mere possibility is not enough. Inherency may not be established by
      probabilities or possibilities. The mere fact that a certain thing may
      result from a given set of circumstances is not sufficient. Rather, a party
      must show that the natural result flowing from the operation as taught
      would result in the performance of the questioned function.

PersonalWeb Techs., LLC v. Apple, Inc., 917 F.3d 1376, 1382 (Fed. Cir. 2019) (cleaned

up) (quoting PAR Pharm., Inc. v. TWI Pharm., Inc., 773 F.3d 1186, 1195 (Fed. Cir.

2014)).

      Further, “it is well established that patent drawings do not define the precise

proportions of the elements and may not be relied on to show particular sizes if the

specification is completely silent on the issue.” Hockerson-Halberstadt, Inc. v. Avia

Grp. Int’l, Inc., 222 F.3d 951, 956 (Fed. Cir. 2000) (first citing In re Wright, 569 F.2d

1124, 1127, 193 USPQ 332, 335 (CCPA 1977); then citing In re Olson, 41 C.C.P.A.

871, 212 F.2d 590, 592, 101 USPQ 401, 402 (CCPA 1954); and then citing Manual of

Patent Examining Procedure 2125 (1998)). However, when “a person of skill in the



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art could derive the claimed dimensions from the patent’s disclosure, there is no

additional requirement that the specification must explicitly disclose the precise

proportions or particular sizes.” Cummins-Allison Corp. v. SBM Co., 484 F. App’x

499, 507 (Fed. Cir. 2012).

  1. Paccar Mod8

      EPS argues that because of the differences between the Paccar Mod8 and the

accused products there can be no anticipation. (Doc. No. 168, Pl. Br., at 15). EPS

contends that the Mod8 is dissimilar to the accused products because Mahle altered

the Mod8 in 2011. (Doc. No. 168 at 15–16).

      EPS points to Mr. Sekler’s testimony regarding the Mod8 as evidence which

forecloses anticipation claims. (Doc. No. 168 at 15). Mr. Hermann Sekler testified that

in 2011 “the fluxing of the tube inserts was changed from a paint fluxed version to an

unfluxed version.” (Doc. No. 168-7, Sekler Depo., at 221–22). Essentially, Plaintiff

argues that the flux contained in the Paccar Mod8 prior to 2011 prevents corrosion

rather than preferentially corroding, like a sacrificial anode does, thus the pre-2011

Paccar Mod8 cannot be prior art. Defendant DTNA relies on the testimony of Mr.

Sekler as well, emphasizing his explanation that the tube reinforcements which

included flux was “painted onto the four legs and underside of a tube reinforcement

stiffener in order to assist the brazing of the tube reinforcement stiffener to the tubes

of the radiator. The top portion of the tube reinforcement stiffener was not painted

with the paint flux.” (Doc. No. 184-1, Sekler Decl., at 3).




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      EPS also directs the Court to materials describing NOCOLOK flux, which

describes the flux residue as “non-corrosive.” (Doc. No. 165-23, Flux Materials, at

EPS008260). It also notes that “[i]t is generally accepted that the presence of flux

residues on a heat exchanger enhances its corrosion resistance.” (Doc. No. 165-22,

NOCOLOK Encyclopedia, at EPS008242). According to EPS, because the pre-2011

tubes inserts have a corrosion resistant layer, they do not preferentially corrode, and

thus, cannot be a sacrificial anode. (Doc. No. 168 at 16).

      EPS further urges the Court to look to the patent for “a flux for brazing metal

components” which is used “to improve corrosion resistance.” (Doc. No. 165-24, Patent

US 8,002,905, at 1:4–2:9, 3:19–3:20, 5:7–5:27, Claim 17). The patent cited by EPS is

dated August 23, 2011. EPS also proffers a comparison between the materials

standards for the Mod8 pre-2011 and the materials standards for the Mod8 after

2011. (Doc. No. 168 at 16).

      EPS’s expert, Mr. Nranian, testified that “in the version of the Mod8 that

DTNA contends is prior art” the tube inserts in the Mod8 are not the same as those

in the accused products because in the prior version, “the tube inserts contain a

painted on flux that is corrosion resistant” and the accused products do not contain

this flux. (Doc. No. 168-4, Nranian Supp. Rep., at 4).

      DTNA’s expert Dr. Wendy Sanders stated that she does not agree that “the

purpose or function of the tube reinforcement inserts has anything to do with

corrosion. The tube reinforcement inserts serve a structural function that would be

undermined if they corroded, preferentially or otherwise.” (Doc. No. 184-2, Sanders



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Decl., at 4). Yet, Dr. Sanders also opined that “the Mod8 rube reinforcement inserts

are functionally the same as those in the accused products, and therefore would

anticipate if EPS’s infringement theory were correct.” (Id.). She also opines that “it is

not clear that NOCOLOK flux residue has anti-corrosive properties relative to the

types of corrosion addressed by the patent-in-suit.” (Id. at 5). Further, she states that

“[i]n certain circumstances, flux residue is likely not to have any impact on corrosion.”

Id. at 5. Ultimately, Dr. Sanders claims:

       Further, as expressly noted by NOCOLOK, the nature of most modern
       coolants dissolves the flux residue layer, thereby negating any claimed
       anti-corrosion effects. The flux residue would remain on the areas where
       it was applied, but it would not move to other areas. Here, only the legs
       and the underside of the tube reinforcement insert are coated with flux,
       thus, these portions of the tube reinforcement inserts may have flux
       residue on them after the brazing process attaches the legs of the tube
       reinforcement insert to its corresponding tubes. The top surface of the
       tube reinforcement inserts would never have flux residue because this
       surface is not coated with flux. In other words, if the flux residue had an
       anti-corrosion effect (I disagree that it does), then the corrosive impact
       would be localized to where the flux residue remains after brazing—at
       only the legs and underside of the tube reinforcement inserts and not on
       the top surface of the tube reinforcement insert.

(Id. at 6).

       DTNA points to the bill of materials (BOM) for two of the accused products to

show that event the accused products contain flux. (Doc. No. 184 at 10). The BOM

titled MPC-0000249 for shows material L9757001, which is flux, as does the BOM

titled MPC-0000240. To Defendant, this use of flux in other accused products

indicates issues of fact regarding where and on what flux is applied. (Doc. No. 184 at

12).




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      DTNA also emphasizes the disagreements between the experts over whether

flux residue has any anticorrosive effect at all. (Doc. No. 184 at 12). For this,

Defendant cites the statements of both Dr. Sanders and Mr. Sekler. (Id. at 12). Mr.

Sekler stated:

      I am not personally aware of any anti-corrosive effect of flux nor did we
      use flux for that purpose. Regardless, though, for the Mod8, the flux was
      painted only on the legs and underside of the tube reinforcement
      stiffener, and thus flux residue would only be present at the joints
      between the legs and the tubes of the stiffener.

(Doc. No. 184-1 (Sekler Decl.) at 3).

      Further, both the flux promotional materials, and the Society of Automotive

Engineers (SAE) paper express that the impact of flux is dependent on surrounding

conditions. Specifically, the SAE paper 900408, (Doc. No. 185-1), cited by Plaintiff’s

expert Mr. Nranian, explains that successful corrosion protection is dependent “on

specific treatment conditions.” The promotional material for flux in the NOCOLOK

encyclopedia declares that “it has always been difficult to quantify the level of

corrosion resistance enhancement.” (Doc. No. 165-22, NOCOLOK Encyclopedia, at

EPS008242).

      Ultimately, there are genuine issues of material fact which cannot properly be

resolved at summary judgment. The documentary evidence and the experts on both

sides provide conflicting conclusions on the effect of flux in the Mod8. A battle of the

experts should not be resolved at summary judgment. Reyazuddin v. Montgomery

Cnty., Maryland, 789 F.3d 407, 417 (4th Cir. 2015). It appears to the Court that many

of the issues involved in this particular anticipation theory are present in the overall



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infringement issue as well, as the accused products also appear to contain some

amount of flux. There are also issues regarding the location of the flux and how that

affects its use, which forecloses summary judgment. Therefore, summary judgment

as to anticipation regarding the Paccar Mod8 is denied.

  2. Topaz Radiator

      EPS argues that DTNA “has offered no evidence that the radiator sample on

which DTNA and Dr. Sanders base their contentions is prior art to the asserted

claims” and “nothing connects the SAE papers” to the sample radiator in question.

(Doc. No. 168 at 17). DTNA argues that the Topaz radiator is prior art because the

evidence shows the radiator is from 1988 and was removed from a 1991 vehicle. (Doc.

No. 184 at 16).

      By way of evidence of the date of the Topaz radiator, DTNA observes numbers

inscribed on the radiator, “042588,” which DTNA claims is the date of the radiator.

(Doc. No. 185-2). DTNA’s expert, Dr. Sanders, references the numbers as a date in

the invalidity chart for the Topaz Radiator. (Doc. No. 165-4, Topaz Chart, at 3). DTNA

further provides an image of the packing from the purchased radiator showing that

the radiator was removed from a 1991 Topaz, containing a Vehicle Identification

Number (VIN) for a Ford Topaz. (Doc. No. 185-3). DTNA also displayed an invoice

from Rockford Auto parts showing that the radiator purchased fits a 1986—1991

Mercury Tempo, which is the same as the Ford Topaz. (Doc. No. 185-4).

      Along with the physical radiator and the receipts describing it, DTNA points

to two SAE technical papers, both published in 1986, which describe the Tempo and



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Topaz radiators. (Doc. No. 185-5, Doc. No. 185-6). The respective titles of the articles

are Vacuum Brazed Aluminum Radiator for Ford Tempo/Topaz and New Vacuum

Brazed Aluminum Radiators for Ford Light Trucks.

      EPS’s assertion that there is no evidence that the radiator sample is from a

1991 model year Ford Topaz, (Doc. No. 168 at 17), is without merit. Evidence has

been presented from which a jury could find that the radiator is from a Ford Topaz

from 1991. EPS also contends that DTNA cannot connect its sample radiator to the

SAE papers to which it refers. (Doc. No. 168 at 17). It seems that the SAE papers do

pre-date the radiator sample in question. However, to the extent the papers may

describe the Topaz radiator as prior art, the fact that it predates this particular

sample radiator is irrelevant—it is still prior art.

      Lastly, EPS asserts that no evidence shows that the Topaz Radiator contains

a sacrificial anode. (Doc. No. 168 at 18). EPS expresses concern over DTNA’s testing

of the sample radiator or lack thereof. (Doc. No. 168 at 18). DTNA offers Dr. Sanders’

testimony to support that the Topaz radiator contains a “preferentially corroding”

zinc anode. (Doc. No. 184 at 19). EPS’s expert, Mr. Nranian, disagrees, arguing that

Dr. Sanders does not show that there is a piece of metal which preferentially corrodes

to protect another piece of evidence. (Doc. No. 168-3, Nranian Rebuttal Rep., at 38).

      Dr. Sanders opines that “in the Topaz Radiator, the hot liquid side of the inlet

header plate includes a sacrificial anode cladding. At least portions of the inlet header

plate are within 10 inches of the inlet.” (Doc. No. 165-4, Topaz Chart, at 16). In

support of her opinion, she relies upon testing which confirms “the aluminum



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construction of the radiator as well as the presence of zinc anodic coating on the

interior surfaces of the sample.” (Id. at 19). Her analysis and opinion are also

informed by the SAE technical papers. (See id.).

       Ultimately, DTNA has presented evidence from which a jury could conclude

that the Topaz radiator predated the patent-in-suit and practiced the limitations of

the claimed invention, thus the evidence presented by DTNA raises a genuine issue

of material fact as to whether the Ford Topaz radiator is prior art. Therefore,

summary judgment as to anticipation and obviousness regarding the Topaz radiator

is denied.

  3. Corrosion Guard

       EPS contends that the Corrosion Guard is not prior art as a matter of law

because it is neither installed in a radiator nor installed within 10 inches of the hot

liquid inlet. (Doc. No. 168 at 19). DTNA responds that whether Corrosion Guard is

part of or installed into the radiator presents a question of fact over what the prior

art teaches and how to interpret claim terms not construed by the Court. (Doc. No.

184 at 22–23). With regard to the 10-inch limitation, DTNA asserts that EPS’s

argument that Corrosion Guard does not disclose being installed within 10 inches of

the radiator’s hot liquid inlet is merely a difference of opinion. (Id. at 24).

       Dr. Sanders opines that “[a] person of skill in the art would appreciate that the

installation location for the Corrosion Guard is a matter of convenience and ease of

access for the installer.” (Doc. No. 165-6 (Corrosion Guard Chart) at 11). Further, she

notes that “[g]iven that the Corrosion Guard is installed in the upper radiator hose,



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its proximity to the inlet is a function of the proximity of the engine’s hot water outlet

to the radiator’s hot water inlet. As such, the Corrosion Guard could be installed even

closer to the hot water inlet of the radiator than shown in the Corrosion Guard

Instruction Video.” (Id.).

      Here, Dr. Sanders’ opinion attempts to show anticipatory disclosure based

upon the fact that Corrosion Guard could be installed within 10 inches of the hot

liquid inlet. The mere possibility of installation within 10 inches is insufficient to

anticipate. PersonalWeb Techs., 917 F.3d at 1382. Nothing in the evidence provided

indicates that Corrosion Guard discloses the 10-inch limitation in the patent-in-suit.

Dr. Sanders’ testimony attempts, but fails, to bridge the gap by alleging that

Corrosion Guard “could” be installed “even closer to the hot liquid inlet.”

      DTNA urges the Court to follow several cases which find anticipation where a

person of skill in the art would read the prior art to disclose the claim elements. Those

cases are a far cry from the case at bar.

      DTNA boils Arthrocare down to a simple finding of no anticipation because “the

accused infringer’s expert ‘stated that a person of skill in the art would understand’

the prior art reference to disclose the claim limitations.” However, in that case, the

specific claim at issue was the location of the attachment of the electrical leads to the

power source, specifically that “the electrical leads attach to the power source from

near the proximal end of the endoscope.” Arthrocare Corp. v. Smith & Nephew, Inc.,

406 F.3d 1365, 1373 (Fed. Cir. 2005). The expert testified that he agreed that the

asserted prior art “did not explicitly identify the point at which the wires exit the



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probe,” but “a person of skill in the art would understand that the wires would be

attached to the power source after exiting the back end of the probe.” Id. Here, that

is not the case. Dr. Sanders concludes that “[a] person of skill in the art would

appreciate that the installation location for the Corrosion Guard is a matter of

convenience and ease of access for the installer.” Essentially, she appears to assert

that the location of the Corrosion Guard does not matter. To disclose that location of

installation ‘does not matter’ is not the same as a disclosure of 10 inches from the hot

liquid inlet.

       DTNA also cites In re Gatabi to illustrate a POSITA’s reasonable

interpretation of the prior art. (Doc. No. 184 at 25). But in that case, the prior art

disclosed the angle of gate conductors to be between 5 and 85 degrees, which the

Federal Circuit found encompassed the claim at issue which involved gate angles less

than 88 degrees. In re Gatabi, No. 2022-1580, 2023 WL 3477285, at *2 (Fed. Cir. May

16, 2023). This would be persuasive if the Corrosion Guard disclosed being placed

within 8 inches (or some number less than 10) to the hot liquid inlet, but it does not.

       The Court recognizes that “a reference can anticipate a claim even if it does

not expressly spell out all the limitations arranged or combined as in the claim, if a

person of skill in the art, reading the reference, would at once envisage the claimed

arrangement or combination. Kennametal, Inc. v. Ingersoll Cutting Tool Co., 780 F.3d

1376, 1381 (Fed. Cir. 2015) (cleaned up). Again, that is not the case here. Dr. Sanders’

testimony provides that it “could” encompass the claim limitation, and that is not

sufficient as a matter of law. PersonalWeb Techs., 917 F.3d at 1382.



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      Last, the Court rejects DTNA’s claim construction arguments regarding

whether Corrosion Guard is a radiator or is it installed in the radiator. It is

undisputed that Corrosion Guard is installed inside the top radiator hose. (Doc. No.

165-12). Defendant’s argument that this installation inside the radiator hose makes

it part of the “radiator assembly” and thus part of the radiator is unavailing and

devoid of support from the plain meaning of the word “radiator.”

      From the evidence presented, no question of fact exists such that a reasonable

jury could find that Corrosion Guard discloses each and every limitation of the

claimed invention. Therefore, summary judgment of no anticipation is appropriate,

and summary judgment of no anticipation as to corrosion guard is granted.

  4. Publication References

      EPS contends that summary judgment of no anticipation is appropriate as to

DTNA’s publication references. (Doc. No. 168 at 21). DTNA argues that Dr. Sanders

properly relies on her own interpretations of the prior art publications to opine on

anticipation. (Doc. No. 184 at 26). The Court has reviewed the invalidity charts

provided and the arguments of the parties. Both parties address the publication

references briefly and in summary—the Court will do the same.

      Specifically, EPS contends that none of DTNA’s publication references disclose

a sacrificial anode within 10 inches of the hot liquid inlet to a radiator. (Doc. No. 168

at 21). DTNA contends that Dr. Sanders’ and Mr. Nranian disagree as to the

invalidity opinions, and accordingly, this is a battle of the experts that should not be

resolved at summary judgment. (Doc. No. 184 at 28, 30). There is no dispute that the



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10-inch limitation is not expressly disclosed by the publication references. Thus, the

question before the Court is whether that gap in disclosure is bridged by other

evidence.

      For the Hopkins publication, Sanders opines that it “discloses and describes or

at least renders obvious a sacrificial anode installed within 10 inches of the hot liquid

inlet of the radiator.” (Doc. No. 165-3, Hopkins Chart, at 7). In support of her opinion,

Sanders quotes from Hopkins: “In preference the flange portion of the sacrificial

anode is adapted to be fitted between the thermostat housing flange portion and the

engine housing outer surface, to thereby seal the connection therebetween.” She also

cites figures from Hopkins. (Id. at 8). Then, Dr. Sanders opines that a “person of

ordinary skill in the art would understand the sacrificial anode 10 in some

applications will be at least within 10 inches of the radiator inlet, as shown and

annotated above in Fig. 3.” (Id. at 11). She goes on to opine that a “person of skill in

the art would understand that the distance between the thermostat housing gasket

and the radiator’s hot water inlet is dictated by the size of the engine and orientation

of the thermostat housing relative to the inlet.” (Id.)

      For the Martin publication, Dr. Sanders opines that “[g]iven that the corrosion

guard in Martin is installed in the radiator inlet hose, its proximity to the radiator

inlet is a function of the proximity of the engine’s hot water outlet to the radiator’s

hot water inlet. . . . While the precise installation location is not disclosed by Martin,

a person of ordinary skill in the art would understand that the sacrificial anode of

Martin could be placed at any location along a relatively straight segment of the



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radiator inlet hose, including within 10 inches of the hot liquid inlet of the radiator

and that placing the sacrificial anode of Martin within this proximity of the hot liquid

inlet of the radiator is inherently disclosed by Martin . . . .” (Doc. No. 165-5, Martin

Invalidity Chart, at 7–9).3

     For the Ozaki publication, Dr. Sanders opines that it discloses a sacrificial

anode installed within 10 inches of the hot liquid inlet. The publication discloses that

“the corrosion preventing layer can also be formed on the internal surfaces of the

radiator caps 236 with ease . . .” or “it is ensured that the corrosion preventing layer

can be formed on the internal surfaces of the radiator tank . . .” (Doc. No. 165-7,

Amended Ozaki Invalidity Chart, at 6). Dr. Sanders provides no other analysis as to

why that description would include the “within 10 inches” specification.

     For the O’Conner publication, it discloses that “[a]ccordingly, it would be

desirable to provide an all-aluminum monolithic heat exchanger which is

characterized by significantly reduced internal erosion, particularly at the ends of the

coolant tubes immediately downstream of the heat exchanger inlet . . . .” (Doc. No.

165-9 (O’Connor Invalidity Chart) at 19). Dr. Sanders opines that it either expressly

or inherently discloses the limitation in conclusory fashion.

     For the MacKenna publication, it discloses that “[i]t is a further object of this

invention to provide a sacrificial anode of the character described which may be

removably fastened to the structure being protected.” (Doc. No. 165-10, MacKenna




3 The Martin publication reference is the Corrosion Guard addressed above. Thus,

the same analysis would apply here.
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Invalidity Chart, at 25). Dr. Sanders opines that it expressly or inherently discloses

the limitation in conclusory fashion.

      For Godefroy, Sanders notes that the publication discloses that “the sacrificial

resist may be placed at any other location of the heat exchanger, for example in

reservoirs, protrusions, or other recesses which a heat exchanger may define[,]” and

concludes that the publication discloses “a sacrificial resist (anode) that can be

installed at various locations including within the tubing 12 (hot liquid inlet), which

is necessarily less than 10 inches of the hot liquid inlet of the radiator.” (Doc. No. 165-

2, Godefroy Chart, at 8–9).

      All of the aforementioned publication references suffer from the same

deficiency: they say nothing regarding the distance of the sacrificial material to the

hot liquid inlet. Rather, they indicate a mere possibility of being within 10 inches.

That is not sufficient for inherent disclosure. PersonalWeb Techs, 917 F.3d at 1382

(“Mere possibility is not enough. Inherency may not be established by probabilities or

possibilities.”).

      The Court concludes that considering the evidence in the light most favorable

to DTNA, it has not produced evidence from which a reasonable jury could find that

the aforementioned publication references anticipate the patent-in-suit. Ultimately,

as the party asserting invalidity, DTNA has the burden of establishing it. 35 U.S.C.

§ 282. DTNA has not produced evidence that is legally sufficient to meet that burden.

Thus, summary judgment is appropriate as to Defendant’s publication references.




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Therefore, Plaintiff’s motion for summary judgment of invalidity regarding the

publication references listed above is granted.

      The remaining publication references, combined with expert opinions, go

beyond mere possibility in what they disclose and how that would be understood by

a POSITA.

      For the Masayuki publication, it discloses that “[i]n the Al alloy-made radiator

fitted with the sacrificed anode on the inner surface of its Al alloy-made tube . . .” and

“The present invention relates to an Al alloy radiator having improved corrosion

resistance by attaching a sacrificial anode to the inner surface of a tube . . . .” (Doc.

No. 165-8, Amended Masayuki Invalidity Chart, at 14). Dr. Sanders opines that a

person of ordinary skill in the art would have understood the tubes within the

radiator of Masayuki JP’2069 would at least partially be within ten inches of the

center axis of the hot liquid inlet such that sacrificial anode would be installed within

10 inches of the hot liquid inlet.” (Id. at 18–19).

      For the Yamauchi publication, it discloses “a sacrificial anode material bonded

to one surface of the core material, the sacrificial anode material being made of an

aluminum alloy consisting of 1.0 to 2.5% of Mg and 0.05 to less than 0.20% of Si with

the balance consisting of Al and unavoidable impurities. . . .” (Doc. No. 165-11,

Yamauchi Invalidity Chart, at 18). Dr. Sanders opines that “[t]o the extent that

Yamauchi ‘595 does not expressly describe that the sacrificial anodes in the radiator

tubes/header plates are ‘installed within 10 inches of the hot liquid inlet” . . . a person

of ordinary skill in the art would have understood the tubes and header plates for the



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radiators generally described by Yamauchi ‘595 would at least partially be within 10

inches of the center axis of the hot liquid inlet such that the sacrificial anode(s)

installed within each would be ‘installed within 10 inches of the hot liquid inlet.’” (Id.

at 32).

      Dr. Sanders opinions on these publications demonstrate that a POSITA would

understand a potential inherent disclosure. Accordingly, a genuine issue of material

fact exists, and summary judgment is inappropriate on these publication references.

          V.    CONCLUSION

          IT IS, THEREFORE, ORDERED that Defendant DTNA’s Omnibus Motion

for Summary Judgment, (Doc. No. 162) is GRANTED in part and DENIED in

part, and Plaintiff’s Motion for Summary Judgment of Invalidity, (Doc. No. 165), is

GRANTED in part and DENIED in part, as stated herein.

          The parties shall confer and file a joint proposal within thirty (30) days of the

entry of this order indicating a proposed trial date for this matter.

          IT IS SO ORDERED.
 Signed: September 11, 2024




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